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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        CENTRAL DISTRICT OF ILLINOIS

JOHNNIE LEE SAVORY,                                  )
                                                     )     Case No. 23-cv-01184
              Plaintiff,                             )
                                                     )     Hon. Judge Colleen R. Lawless
        v.                                           )
                                                     )     Mag. Judge Jonathan E. Hawley
WILLIAM CANNON, as Special Representative            )
for the Estate of CHARLES CANNON, et al.,            )
                                                     )
              Defendants.                            )     JURY TRIAL DEMANDED


    PLAINTIFF’S CONSOLIDATED RESPONSE IN OPPOSITION TO DEFENDANTS’
                     SUMMARY JUDGMENT MOTIONS
                             EXHIBIT LIST

  Exhibit No.                                      Description

Ex. 1              Deposition of Johnnie L. Savory, 06/15/2022

Ex. 2              Deposition of Johnnie L. Savory, 02/17/2023

Ex. 3              Motion to Suppress Testimony of George Pinkney, 05/20/1977

Ex. 4              Trial 1 Testimony of George Pinkney, 06/29/1977

Ex. 5              Opinion for People of the State of Illinois vs. Johnnie L. Savory

Ex. 6              Pinckney and Haynes Report of 01/26/1977

Ex. 7              Teplitz Report of 01/26/1977

Ex. 8              Expert Report of Dr. Karl Reich

Ex. 9              Deposition of Ann Yeagle, 02/06/223

Ex. 10             Pardon of Johnnie L. Savory, 01/12/2015

Ex. 11             Voegele Report of 01/18/1976

Ex. 12             Statement of William Douglas, 1/18/1977




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Ex. 13       Trial 1 Testimony of William Douglas, 06/28/1977

Ex. 14       Coroner’s Inquest of William Douglas, 02/03/1977

Ex. 15       Nelson Report of 01/22/1977

Ex. 16       Layman Report of 01/20/1977

Ex. 17       Black Report of 01/20/1977

Ex. 18       Cannon Report of 01/19/1977

Ex. 19       Coroner’s Inquest for Glen Perkins, 02/03/1977

Ex. 20       Fiers Report of 01/18/1977

Ex. 21       Cannon Report of 01/18/1977

Ex. 22       Evidence Receipt of Connie Cooper and James Robinson, 01/19/1977

Ex. 23       Jatkowski Report of 01/24/1977

Ex. 24       Expert Report of Thomas Tiderington

Ex. 25       Trial 1 Testimony of Walter Jatkowski, 06/29/1977

Ex. 26       Hopkins Report of 01/18/1977

Ex. 27       Johnson Report of 01/20/1977

Ex. 28       Koenig Report of 01/21/1977

Ex. 29       Statement of Noyalee Robinson, 01/22/1977

Ex. 30       Expert Report of Dr. Daniel Spitz

Ex. 31       Deposition of John Fiers, 10/13/2021

Ex. 32       Fidler Report of 01/27/1977

Ex. 33       Trial 1 Testimony of Noyalee Douglas, 06/28/1977

Ex. 34       Buck Report of 01/19/1977

Ex. 35       Gonsowski Report of 03/17/1977


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Ex. 36       Suppressed Notes 1

Ex. 37       Suppressed Notes 2

Ex. 38       Suppressed Notes 3

Ex. 39       Expert Report of Dr. Kyle Shaw

Ex. 40       Individual Defendants’ Amended Response to Plaintiff’s First Set of
             Requests for Admission Nos. 11 and 12
Ex. 41       ISP Laboratory Examination, 08/09/2018-10/2018

Ex. 42       ISP Laboratory Report, 10/01/2018

Ex. 43       Steinhauser Report of 01/18/1977

Ex. 44       Statement of Charles Garnett Watts, 01/18/1977

Ex. 45       Koenig Report of 1/24/1977

Ex. 46       Wolland Report of 01/18/1977

Ex. 47       Hoffman Report of 01/21/1977

Ex. 48       Button Report of 01/21/1977

Ex. 49       Cannon Report of 01/20/1977

Ex. 50       Melloy Report of 07/03/1976

Ex. 51       Hilst Report of 01/22/1977

Ex. 52       Cannon Report of 01/20/1977

Ex. 53       Timmes and Dunlavey Report of 01/19/1977

Ex. 54       Nelson Report of 01/22/1977

Ex. 55       Douglas Reports

Ex. 56       Black Report of 01/21/1977

Ex. 57       Hopkins Report of 01/20/1977

Ex. 58       Bowers Polygraph Report of 1/20/1977


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Ex. 59       Jenkins Polygraph Report of 1/21/1977

Ex. 60       Jenkins Polygraph Report of 1/26/1977

Ex. 61       Individual Defendants’ Second Supplemental Answer to Plaintiff’s Second
             Interrogatories, Number 1, and Investigation File

Ex. 62       Peoria County State’s Attorney’s Office Subpoena Response
             FILED UNDER SEAL

Ex. 63       Case Data Sheet – William Douglas 01/21/1977

Ex. 64       Teplitz Report of 05/18/1977

Ex. 65       Haynes Report of 02/07/1977

Ex. 66       Order of Disposition, 12/08/1976
             FILED UNDER SEAL

Ex. 67       Johnnie L. Savory Juvenile Record
             FILED UNDER SEAL

Ex. 68       Deposition of Rick Brown, 12/08/2023

Ex. 69       Expert Report of Dr. Richard Leo

Ex. 70       Deposition of Edgar Haynes, 03/23/2022

Ex. 71       Cannon Report of 01/25/1977

Ex. 72       Motion to Suppress Testimony of Cannon, 05/20/1977

Ex. 73       Expert Report of Dr. Charles Honts

Ex. 74       Fiers Report of 01/26/1977

Ex. 75       Fiers Report of 01/26/1977

Ex. 76       Johnnie L. Savory consent form, 01/25/1977

Ex. 77       Tiarks Report of 02/01/1977

Ex. 78       Trial 1 Testimony of Marcella Teplitz, 06/29/1977

Ex. 79       Lab Report, 01/26/1977


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Ex. 80        Deposition of Marcella Teplitz, 10/06/2022

Ex. 81        Bennett and Jatkowski Report of 01/26/1977

Ex. 82        Pinkney Report of 01/25/1977

Ex. 83        Jatkowski Report of 01/25/1977

Ex. 84        Case Data Sheet – Johnnie Savory, 01/26/1977

Ex. 85        Evidence Receipt of Connie Cooper and James Robinson, 01/31/1977

Ex. 86        Defendant Walter Jatkowski’s Answer to Plaintiff’s Third Set of
              Interrogatories
Ex. 87        Deposition of Robert Gonsowski, 11/10/2022

Ex. 88        Grand Jury Testimony, 02/15/1977

Ex. 89        Lab Report, 05/30/2014

Ex. 90        Deposition of Walter Jatkowski, 02/23/2023

Ex. 91        Declaration of Trevor McGrath, 12/20/2022

Ex. 92        Individual Defendants’ Second Supplemental Answer to Plaintiff’s Second
              Interrogatories, Number 1 and Crime Scene Unit File
              FILED UNDER SEAL

Ex. 93        Deposition of Judge Michael Mihm, 10/19/2022

Ex. 94        Deposition of Robert Gaubas, 01/18/2023

Ex. 95        Defendant City of Peoria’s Response to Plaintiff’s Third Set of Requests for
              Admission to All Defendants

Ex. 96        Defendant Marcella Teplitz’s Response to Plaintiff’s Third Set of Requests
              for Admission to All Defendants

Ex. 97        30(B)(6) Deposition of Martha Hammer, 02/14/2023

Ex. 98        Trial 2 Testimony of William Douglas, 04/28/1981

Ex. 99        Motion to Suppress Testimony of Marcella Teplitz, 05/20/1977

Ex. 100       Trial 1 Testimony of Gonsowski, 06/29/1977


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Ex. 101       Trial 2 Testimony of Gonsowski 04/28/1981

Ex. 102       Deposition of Marcella Teplitz, 10/5/2022

Ex. 103       Trial 1 Testimony of Dr. Immesoete, 06/28/1977

Ex. 104       Trial 2 Testimony Dr. Immesoete, 04/29/1981

Ex. 105       Case Data Sheet – Johnnie Savory, 01/27/1977

Ex. 106       Deposition of Walter Jatkowski, 10/20/2021

Ex. 107       Trial 2 Testimony of Walter Jatkowski, 04/28/1981

Ex. 108       Jatkowski Report of 09/16/1977

Ex. 109       Cannon Report of 09/07/1977

Ex. 110       Affidavit of Jennifer Smith with Exhibits, 03/6/2013

Ex. 111       Petition for Relief from Judgment and Motion for a New Trial, 04/02/2015

Ex. 112       Haynes Report of 01/26/1977

Ex. 113       Post Trial Motion Heating Testimony of Joseph Gibson, 06/12/1981

Ex. 114       Article “Savory Case Refused by Supreme Court”, 01/30/1980

Ex. 115       Haynes and Brown Report of 02/07/1977

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Ex. 117       Deposition of Ella Ivy, 06/08/2022

Ex. 118       Deposition of Frankie Ivy, 06/07/2022

Ex. 119       Affidavits of Ella Ivy, 10/27/2012 and 09/29/2012

Ex. 120       Depositions of Marcella Teplitz, 02/21/2023

Ex. 121       Buck Report of 01/21/1981

Ex. 122       Teplitz Report of 02/16/1981

Ex. 123       Cannon Report of 04/07/1981


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Ex. 124       Cannon Report of 04/08/1981

Ex. 125       Cannon Report of 04/08/1981

Ex. 126       Cannon Report of 12/1/1983

Ex. 127       Criminal Trial Testimony of Ella Ivy, 04/29/1981

Ex. 128       Affidavit of Frank Ivy, 05/14/2003

Ex. 129       Criminal Trial Testimony of Tina Ivy , 04/29/1981

Ex. 130       Criminal Trial Testimony of Frankie Ivy, 04/29/1981

Ex. 131       Post Conviction Hearing Testimony of Tina Ivy, 11/23/1983

Ex. 132       Trial 2 Testimony of George Pinkney, 04/29/1981

Ex. 133       Trial 2 Testimony of Charles Cannon, 04/29/1981

Ex. 134       Deposition of George Pinkney, 03/01/2022

Ex. 135       Deposition of John Fiers, 10/14/2021

Ex. 136       Deposition of Allen Andrews, 03/21/2022

Ex. 137       Deposition of Carl Tiarks, 11/12/2021

Ex. 138       Cannon Report of 04/09/1981

Ex. 139       Deposition of Winell Sankey, 06/03/2022

Ex. 140       Teplitz Report of 02/08/1977

Ex. 141       Cannon Report of 01/26/1977

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Ex. 143       Fondriest and Black Report of 01/30/1977

Ex. 144       Deposition of Charles Bowers, 10/27/2021

Ex. 145       Ann Yeagle Email, 11/6/2013

Ex. 146       Trial 2 Testimony of John Fiers, 04/29/1981


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Ex. 147       Trial 2 Testimony of Edgar F. Haynes, 04/29/1981

Ex. 148       Trial 2 Testimony of Martha Williams, 04/29/1981




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